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 1                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
                           Plaintiff,
 5
                               v.
 6                                                                  CRIMINAL: 12-192 (CCC)
 7        [48] ANA C. CARRIÓN-CRUZ,

 8                       Defendant.
 9
10                    MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                          RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
12   I.       Procedural Background
13            On September 27, 2012, a grand jury returned a superseding indictment against [48] Ana C.
14   Carrión-Cruz (hereinafter referred to as “defendant”) and other individuals. ECF No. 124. The
15   defendant has agreed to plead guilty to count three of the superseding indictment. Count three charges
16   that beginning on a date unknown, but no later that in or about the year 2003, and continuing up to and
17   until the return of the superseding indictment, in the Municipality of Fajardo, in the District of Puerto
18   Rico, and elsewhere within the jurisdiction of this court, Ana C. Carrión-Cruz did knowingly and
19   intentionally, combine, conspire, and agree with others, known and unknown to the grand jury, to
20   commit an offense against the United States, that is, to possess with intent to distribute one (1) kilogram
21   or more of a mixture or substance containing a detectable amount of heroin, a Schedule I Narcotic Drug
22   Controlled Substance; two-hundred and eighty (280) grams or more of a mixture or substance
23   containing a detectable amount of cocaine base (“crack”), a Schedule II Narcotic Drug Controlled
24   Substance; five (5) kilograms or more of a mixture or substance containing a detectable amount of
25   cocaine, a Schedule II Narcotic Drug Controlled Substance; and a measurable amount of a mixture or
26   substance containing a detectable amount of marijuana, a Schedule I Controlled Substance, all within
27   one thousand (1,000) feet of the real property comprising a housing facility owned by a public housing
28   authority, that is, the Santiago Veve-Calzada Public Housing Project, Puerto Real Public Housing
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 2   Project, Villa Fajardo Public Housing Project, Mansion del Sapo Ward, Maternillo Ward, Quebrada
 3   Vueltas Ward, Amparo Street also known as Calle Chiquita and other areas within and near the
 4   Municipality of Fajardo, Puerto Rico, all in violation of Title 21, United States Code, §§ 846, 841(a)(1),
 5   and 860.
 6   II.      Consent to Proceed Before a Magistrate Judge
 7            On February 4, 2014, while assisted by counsel, the defendant, by consent, appeared before the
 8   undersigned in order to change her previous not guilty plea to a plea of guilty as to count three of the
 9   superseding indictment. In open court the defendant was questioned as to the purpose of the hearing
10   being held and was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
11   were to be conducted under oath and that it was expected that her answers would be truthful; (c) the
12   potential consequences of lying under oath (such as a perjury charge); and (d) her right to have the
13   change of plea proceedings presided by a district judge instead of a magistrate judge. The defendant
14   was also explained the differences between the appointment and functions of the two. The defendant
15   consented to proceed before the undersigned magistrate judge.
16   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
17            A.     Rule 11(c)(1) Requirements
18                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
19            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
20            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
21            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
22            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
23            United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
24            B. Admonishment of Constitutional Rights
25            To assure defendant’s understanding and awareness of her rights, defendant was advised of her
26   right:
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 2           1.   To remain silent at trial and be presumed innocent, since it is the government who has the
 3   burden of proving her guilt beyond a reasonable doubt.
 4           2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
 5   to her decision not to testify.
 6           3.   To a speedy trial before a district judge and a jury, at which she would be entitled to see
 7   and cross examine the government witnesses, present evidence on her behalf, and challenge the
 8   government’s evidence.
 9           4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
10   convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
11           5.   To use the subpoena power of the court to compel the attendance of witnesses.
12           Upon listening to the defendant’s responses, observing her demeanor and her speaking with her
13   attorney, that to the best of counsel’s belief defendant had fully understood her rights, it is determined
14   that defendant is aware of her constitutional rights.
15           C. Consequences of Pleading Guilty
16           Upon advising defendant of her constitutional rights, she was further advised of the
17   consequences of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon
18   having her guilty plea accepted by the court, she will be giving up the above rights and will be convicted
19   solely on her statement that she is guilty.
20           In response to further questioning, defendant was explained and she understood that if convicted
21   on count three as charged she will face the following penalties: a term of incarceration of not less than
22   ten (10) years or more than twice life imprisonment, a fine not to exceed twenty million dollars
23   ($20,000,000), and a term of supervised release of at least ten (10) years. However, if the court accepts
24   the defendant’s guilty plea and if the court accepts the amount of narcotics stipulated by the parties in
25   the plea agreement, that is at least five hundred (500) grams but less than two (2) kilograms of cocaine,
26   the penalty for the offense shall be the following: a term of imprisonment of not less than five (5) years
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 2   and not more than eighty (80) years, a fine not to exceed ten million dollars ($10,000,000), and a term
 3   of supervised release of at least eight (8) years.
 4             The defendant was explained what the supervised release term means and was also made aware
 5   that the court must impose a mandatory penalty assessment of one hundred dollars ($100) per offense
 6   pursuant Title 18, United States Code, Section 3013(a).
 7             The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 8   in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 9   her, she later could not withdraw her guilty plea for that reason alone. Furthermore, the defendant was
10   admonished of the fact that by pleading guilty she would not be allowed later on to withdraw her plea
11   because she eventually might disagree with the sentence imposed, and that if she violates the conditions
12   of supervised release, that privilege could be revoked and she could be required to serve an additional
13   term of imprisonment. She was also explained that parole has been abolished. The defendant
14   understood this.
15             D. Plea Agreement1
16             The parties have entered into a written plea agreement that, upon being signed by the
17   government, defense attorney and defendant, was filed and made part of the record. Defendant was
18   clearly warned and recognized having understood that:
19             1.   The plea agreement is not binding upon the sentencing court.
20             2.   The plea agreement is an agreement between the defendant, defense counsel and the
21   attorney for the government which is presented as a recommendation to the court in regards to the
22   applicable sentencing adjustments and guidelines, which are advisory.
23             3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
24   guideline computation, that can be either accepted or rejected by the sentencing court.
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                     “Plea agreement” refers to the agreement and its supplement.
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 2          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
 3   sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
 4   maximum possible penalty prescribed by statute.
 5          Defendant acknowledged having understood this explanation.
 6          E. Government's Evidence (Basis in Fact)
 7          The government presented a proffer of its evidence consistent with the version of facts of the
 8   plea agreement with which the defendant concurred. Accordingly, it is determined that there is a basis
 9   in fact and evidence to establish all the elements of the offense charged.
10          F. Voluntariness
11          The defendant accepted that no threats had been made to induce her to plead guilty and that she
12   did not feel pressured to plead guilty.
13          G. Waiver of Appeal
14          The defendant was explained, and she understood, that if the court accepts the plea agreement
15   and sentences her according to its terms and conditions, she will be surrendering her right to appeal the
16   sentence and judgment in this case.
17   IV.    Conclusion
18          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
19   Criminal Procedure, and has entered a plea of guilty as to count three of the superseding indictment.
20   After cautioning and examining the defendant under oath and in open court, concerning each of the
21   subject matters mentioned in Rule 11, as described in the preceding sections, I find that defendant Ana
22   C. Carrión-Cruz is competent to enter this guilty plea, is aware of the nature of the offense charged and
23   the maximum statutory penalties that the same carries, understands that the charge is supported by the
24   government’s evidence, has admitted to every element of the offense charged, and has done so in an
25   intelligent and voluntary manner with full knowledge of the consequences of her guilty plea. Therefore,
26   I recommend that the court accept the guilty plea of the defendant and that the defendant be adjudged
27   guilty as to count three of the superseding indictment.
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 2              This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections

 3   to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its

 4   receipt.     Fed. R. Civ. P. 72(b).     Failure to timely file specific objections to the report and

 5   recommendation is a waiver of the right to review by the district court. United States v. Valencia-

 6   Copete, 792 F.2d 4 (1st Cir. 1986).

 7              SO RECOMMENDED.

 8              At San Juan, Puerto Rico, this 10th day of February, 2014.

 9                                                   s/Marcos E. López
                                                     U.S. MAGISTRATE JUDGE
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